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  ATTORNEY DISCIPLINARY PROCEEDINGS
 

  PER CURIAM.
  
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  The Office of Disciplinary Counsel (“ODC”) commenced investigations into allegations that respondent failed to provide competent representation to a client, neglected two legal matters, and failed to communicate with two clients. Following the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
 

  IT IS ORDERED that the Petition for Consent Discipline be accepted and that Jack W. Slaid, Louisiana Bar Roll number 25505, be suspended from the practice of law for a period of six months, fully deferred, subject to a one-year period of supervised probation governed by the conditions set forth in the Petition for Consent Discipline. The probationary period shall commence from the date respondent, the ODC, and the probation monitor execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
 

  IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
 



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   Chief Justice Kimball not participating in the opinion.
  
